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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            CR 20-00322-ODW

 Defendant           Ramon Olorunwa Abbas                                    Social Security No. N         O   N   E
 akas:   Ray Hushpuppi also known as Hush                                    (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.     Nov.     7,   2022

  COUNSEL                                                 John O. Iweanoge , II / Louis J Shapiro, retained
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                               CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 2: 18:1956(h): International Money Laundering
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
                     135 months on Count 2 of the Information.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

It is ordered that the defendant shall pay restitution in the total amount of $1,732,841.34 pursuant to 18 U.S.C. §
3663A.

The amount of restitution ordered shall be paid as follows:

Victim                                                                     Amount
Victim Law Firm                                                            $922,857.76
Victim Businessperson and Qatari Victim Company                            $809,983.58

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution
remains unpaid after release from custody, nominal monthly payments of at least 10% of defendant's gross
monthly income but not less than $ 500, whichever is greater, shall be made during the period of supervised
release and shall begin 90 days after the commencement of supervision. Nominal restitution payments are
ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or
future payment of the amount ordered.




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If the defendant makes a partial payment, each payee shall receive approximately proportional payment.


Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).


The defendant shall comply with Second Amended General Order No. 20-04.


Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established an
inability to pay any fine in addition to restitution.


The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and
provide all necessary treatment.



Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years
under the following terms and conditions:



              1. The defendant shall comply with the rules and regulations of the United States Probation &
                 Pretrial Services Office and Second Amended General Order 20-04, including the conditions of
                 probation and supervised release set forth in Section III of Second Amended General Order 20-
                 04.




              2. During the period of community supervision, the defendant shall pay the special assessment and
                 restitution in accordance with this judgment's orders pertaining to such payment..



              3. The defendant shall participate in mental health treatment, which may include evaluation and
                 counseling, until discharged from the program by the treatment provider, with the approval of the
                 Probation Officer.




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         4.          As directed by the Probation Officer, the defendant shall pay all or part of the costs of the
                     Court-ordered treatment to the aftercare contractors during the period of community supervision.
                     The defendant shall provide payment and proof of payment as directed by the Probation Officer.
                     If the defendant has no ability to pay, no payment shall be required..



         5.          The defendant shall cooperate in the collection of a DNA sample from himself.


         6.          The defendant shall apply all monies received from income tax refunds, lottery winnings,
                     inheritance, judgments and any other financial gains to the Court-ordered financial obligation.


         7.          The defendant shall submit his person, property, house, residence, vehicle, papers, computers [as
                     defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic communications or data storage
                     devices or media, office, or other areas under the defendant's control, to a search conducted by a
                     United States Probation Officer or law enforcement officer. Failure to submit to a search may be
                     grounds for revocation. The defendant shall warn any other occupants that the premises may be
                     subject to searches pursuant to this condition. Any search pursuant to this condition will be
                     conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the
                     defendant has violated a condition of his supervision and that the areas to be searched contain
                     evidence of this violation.



         8.          The defendant shall comply with the immigration rules and regulations of the United States, and if
                     deported from this country, either voluntarily or involuntarily, not reenter the United States illegally.
                     The defendant is not required to report to the Probation & Pretrial Services Office while residing
                     outside of the United States; however, within 72 hours of release from any custody or any reentry
                     to the United States during the period of Court-ordered supervision, the defendant shall report for
                     instructions to the United States Probation Office located at: the 300 N. Los Angeles Street, Suite
                     1300, Los Angeles, CA 90012-3323.

                     The Court recommends defendant to be housed in a (FCI) Fort Dix, New Jersey facility.


         The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental
         health evaluations or reports, to the treatment provider. The treatment provider may provide information
         (excluding the Presentence report), to State or local social service agencies (such as the State of California,
         Department of Social Services), for the purpose of the client's rehabilitation.


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         The drug testing condition mandated by statute is suspended based on the Court's determination that the
         defendant poses a low risk of future substance abuse.



         Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not greater than
         necessary, to comply with the purposes set forth in paragraph (2) of this subsection. The Court, in
         determining the particular sentence to be imposed, shall consider -

         The nature and circumstances of the offense and the history and characteristics of the defendant;

         2.          The need for the sentence imposed --

               a.      To reflect the seriousness of the offense; to promote respect for the law, and to provide just
         punishment for the offense;

                     b.        To afford adequate deterrence to criminal conduct;

                     c.        To protect the public from further crimes of the defendant; and

               d.              To provide the defendant with needed educational correctional treatment in the most effective
         manner.

         3.          The kinds of sentences available;

         4.          The guideline sentencing range;

         5.     The need to avoid unwarranted sentence disparities among defendants with similar records who have been
         found guilty of similar conduct.

         6.          The need to provide restitution to any victims of the offense.




           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                          November 7, 2022
                          Date                                                  U. S. District Judge


           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.



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                                                                               Clerk, U.S. District Court




                      November 7, 2022                               By        Sheila English /s/
                      Filed Date                                               Deputy Clerk




           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).



                                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                      While the defendant is on probation or supervised release pursuant to this judgment:



           The defendant must not commit another federal, state, or                  8.    The defendant must not knowingly associate with any persons
           local crime;                                                                    engaged in criminal activity and must not knowingly associate
                                                                                           with any person convicted of a felony unless granted
           1.    The defendant must report to the probation office in the                  permission to do so by the probation officer. This condition
                 federal judicial district of residence within 72 hours of                 will not apply to intimate family members, unless the court
                 imposition of a sentence of probation or release from                     has completed an individualized review and has determined
                 imprisonment, unless otherwise directed by the                            that the restriction is necessary for protection of the
                 probation officer;                                                        community or rehabilitation;

           2.    The defendant must report to the probation office as                9.    The defendant must refrain from excessive use of alcohol and
                 instructed by the court or probation officer;                             must not purchase, possess, use, distribute, or administer any
                                                                                           narcotic or other controlled substance, or any paraphernalia
           3.    The defendant must not knowingly leave the judicial                       related to such substances, except as prescribed by a
                 district without first receiving the permission of the                    physician;
                 court or probation officer;
                                                                                     10.   The defendant must notify the probation officer within 72
           4.    The defendant must answer truthfully the inquiries of                     hours of being arrested or questioned by a law enforcement
                 the probation officer, unless legitimately asserting his                  officer;
                 or her Fifth Amendment right against self-
                 incrimination as to new criminal conduct;                           11.   For felony cases, the defendant must not possess a firearm,
                                                                                           ammunition, destructive device, or any other dangerous
           5.    The defendant must reside at a location approved by                       weapon;
                 the probation officer and must notify the probation
                 officer at least 10 days before any anticipated change              12.   The defendant must not act or enter into any agreement with
                 or within 72 hours of an unanticipated change in                          a law enforcement agency to act as an informant or source
                 residence or persons living in defendant’s residence;                     without the permission of the court;

           6.    The defendant must permit the probation officer to                  13.   The defendant must follow the instructions of the probation
                 contact him or her at any time at home or elsewhere                       officer to implement the orders of the court, afford adequate
                 and must permit confiscation of any contraband                            deterrence from criminal conduct, protect the public from
                 prohibited by law or the terms of supervision and                         further crimes of the defendant; and provide the defendant
                 observed in plain view by the probation officer;                          with needed educational or vocational training, medical care,
                                                                                           or other correctional treatment in the most effective manner
           7.    The defendant must work at a lawful occupation unless
                 excused by the probation officer for schooling,
                 training, or other acceptable reasons and must notify
                 the probation officer at least ten days before any
                 change in employment or within 72 hours of an
                 unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below) STAUTORY PROVISIONS
             PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:



                     United States District Court, Central District of California

                     Attn: Fiscal Department

                     255 East Temple Street, Room 1178

                     Los Angeles, CA 90012



           or such other address as the Court may in future direct.



                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.



                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).



                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).



                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;

                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United

                                States is paid):

                                         Non-federal victims (individual and corporate),

                                         Providers of compensation to non-federal victims,

                                         The United States as victim;

                              3. Fine;

                              4. Community restitution, under 18 U.S.C. § 3663(c); and

                              5. Other penalties and costs.



                 CONDITIONS OF PROBATION
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                                                                           RETURN



           I have executed the within Judgment and Commitment as follows:

           Defendant delivered on                                                             to
           Defendant noted on appeal on
           Defendant released on
           Mandate issued on
           Defendant’s appeal
           determined on
           Defendant delivered on                                                             to

      at
                the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                               United States Marshal


                                                                By
                     Date                                                      Deputy Marshal




                                                                       CERTIFICATE



           I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
           and in my legal custody.

                                                                               Clerk, U.S. District Court


                                                                By
                     Filed Date                                                Deputy Clerk




                                                      FOR U.S. PROBATION OFFICE USE ONLY



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         Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
         term of supervision, and/or (3) modify the conditions of supervision.



                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




                     (Signed)

                                Defendant                                                  Date




                                U. S. Probation Officer/Designated Witness                 Date




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